                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI
                           EASTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
                  Plaintiff,                      )
                                                  )
v.                                                ) Case No. 4:20CR167 HEA
                                                  )
DAVID W. MAAS,                                    )
                                                  )
                  Defendant.                      )


                 OPINION, MEMORANDUM AND ORDER

      This matter is before the Court on the Reports and Recommendations of

Magistrate Judge David D. Noce addressing Defendant’s Motion to Dismiss the

Indictment, [Doc. No. 24]. In his December 15, 2020 Report and

Recommendation, Judge Noce recommended that the Defendant’s Motion be

denied. Defendant has not filed written objections to these recommendations.

      Judge Noce thoroughly analyzes the law and facts in this matter His

recommendation is based on sound legal authority and detailed analysis. Upon

review, the Court adopts the Report and Recommendation in toto.

      Accordingly,
      IT IS HEREBY ORDERED that Defendant’s Motion to Dismiss

Indictment, [Doc. No. 24] is denied.

      Dated this 1st day of February, 2021.




                               ________________________________
                                 HENRY EDWARD AUTREY
                               UNITED STATES DISTRICT JUDGE




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